IN RE: WILLIAMS, DEBTOR                 9/14/2023                            CANDY WILLIAMS

· · · · · ··UNITED STATES BANKRUPTCY COURT
· · · · · · ·FOR THE DISTRICT OF MONTANA
·
··IN RE:· · · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
··SCOTT K. WILLIAMS,· · · · · · ·)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Debtor.· · · · · · ·) CAUSE NO.
··____________________________· ·) 9:22-bk-90147-BPH
· · · · · · · · · · · · · · · · ·)
··RICHARD J. SAMSON, AS· · · · ··)
··CHAPTER 7 TRUSTEE OF THE· · · ·)
··ESTATE OF SCOTT K. WILLIAMS,· ·)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Plaintiff,· · · · ··)
· · · · · · · · · · · · · · · · ·)
· · · ··-vs-· · · · · · · · · · ·)
· · · · · · · · · · · · · · · · ·)
··CANDY WILLIAMS AND VIKING· · ··)
··INVESTMENTS, LLC,· · · · · · ··)
· · · · · · · · · · · · · · · · ·)
· · · · · · ·Defendants.· · · · ·)
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· · · · · ·Taken at 310 West Spruce Street
· · · · · · · · ··Missoula, Montana
· · ··Thursday, September 14, 2023 - 2:56 P.M.
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· · · · · · · · ·D E P O S I T I O N
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· · · · · · · · · · · · ··OF
·
· · · · · · · · · ··CANDY WILLIAMS
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·Reported by Terra Rohlfs, RPR, Jeffries Court Reporting,
·Inc., 1015 Mount Avenue, Suite B, Missoula, Montana
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·Notary Public for the State of Montana, residing in
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·1·· · · · · · · · ·A P P E A R A N C E S                                ·1·· · · · · · ··I N D E X (continued)
·2···
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                                                                                                                              ··
·3···Trent M. Gardner, Esq.
 ···Hannah
    ·           S. Willstein, Esq.                                       ·3···Deposition Exhibit Number 25
·4···Goetz, Geddes & Gardner, P.C.                                        ·····Google photo of Spotted Fawn Lane property· ·71
 ···The
    ·      Ketterer Building, 35 North Grand                             ·4···Deposition Exhibit Number 26
·5···P.O. Box 6580                                                        ·····Viking Investments' Responses to
 ···Bozeman,
    ·              Montana··59771-6580
                                                                         ·5·· ··Plaintiff's First Discovery Requests· · · · ·78
·6···tgardner@goetzlawfirm.com
 ···Associated
    ·               Staff:                                                ···Deposition
                                                                             ·               Exhibit Number 27
·7···hwillstein@goetzlawfirm.com                                         ·6·· ··Candy Williams' Responses to Plaintiff's
 ···· ·appearing on behalf of Plaintiff, Richard J.                       ·····First Discovery Requests· · · · · · · · · · 7     ·9
·8·· · ·Samson, as Chapter 7 Trustee of the Estate of                    ·7···Deposition Exhibit Number 28
 ···· ·Scott K. Williams.                                                 ·····America First Credit Union Statement
·9···
10···                                                                    ·8·· ··2/1/20· · · · · · · · · · · · · · · · · · ·79
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 ···Edward
    ·           "Rusty" A. Murphy, Esq.                                  ·9···
11···Murphy Law Offices, PLLC                                            10···Certificate of Witness· · · · · · · · · · · · 8· 3
 ···127
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12···Missoula, Montana··59802                                            12···Read and Sign Letter· · · · · · · · · · · · · 85   ·
 ···rusty@murphylawoffices.net
    ·
13·· · ·appearing on behalf of Defendant Candy Williams                  13···Release Letter· · · · · · · · · · · · · · · · 86 ·
 ···· ·and Viking Investments, LLC.                                      14···
14···                                                                    15···
15···                                                                    16···
16···Also appearing:··Richard J. Samson and Scott                        17···
 ···Williams.
    ·
17···                                                                    18···
18···                                                                    19···
19···                                                                    20···
20···                                                                    21···
21···                                                                    22···
22···
                                                                         23···
23···
24···                                                                    24···
25···                                                                    25···

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·1·· · · · · · · · · · · I· N D E X
·2···                                                                    ·1·· · · · · · · ··S T I P U L A T I O N S
·3···WITNESS:· · · · · · · · · · · · · · · · · · PAGE:··
·4···CANDY WILLIAMS                                                      ·2···
·5···Examination by Mr. Gardner· · · · · · · · · · · 6·                  ·3·· · · · ·It was stipulated by and between counsel for
 ···Examination
    ·                 by Mr. Murphy· · · · · · · · · · · 8· 0
·6···Examination by Mr. Gardner· · · · · · · · · · ··82                  ·4···the respective parties that the deposition be taken
·7···
 ···Stipulations·
    ·                 · · · · · · · · · · · · · · · · ··
                                                      5                  ·5···by Terra Rohlfs, RPR, Freelance Court Reporter and
·8···                                                                    ·6···Notary Public for the State of Montana, residing in
·9···EXHIBITS:
10···Deposition Exhibit Number 13                                        ·7···Hamilton, Montana.
 ·· ···Articles of Organization for Viking
11·· ··Investments LLC· · · · · · · · · · · · · · ··14                   ·8···
 ···Deposition
    ·               Exhibit Number 14                                    ·9·· · · · ·It was further stipulated and agreed by and
12·· ··Operating Agreement of Viking Investments
 ·· ···LLC· · · · · · · · · · · · · · · · · · · · 23
                                                   ··                    10···between counsel for the respective parties that the
13···Deposition Exhibit Number 15
 ·· ···Settlement Statement for purchase of                              11···deposition be taken in accordance with the Montana
14·· ··Spotted Fawn Lane property· · · · · · · · · ·29                   12···Rules of Civil Procedure.
 ···Deposition
    ·               Exhibit Number 16
15·· ··Quitclaim Deed for Spotted Fawn Lane                              13···
 ·· ···property· · · · · · · · · · · · · · · · · ·37  ·
16···Deposition Exhibit Number 17                                        14·· · · · ·It was further stipulated and agreed by and
 ·· ···Uniform Residential Loan Application· · · · ·40                   15···between counsel for the respective parties that all
17···Deposition Exhibit Number 18
 ·· ···American Express Statement 7/19/19· · · · · ·43                   16···objections except as to form would be reserved
18···Deposition Exhibit Number 19
 ·· ···Settlement Statement for refinance of                             17···until time of trial, and that said objections would
19·· ··Spotted Fawn Lane property· · · · · · · · · ·47
 ···Deposition
    ·               Exhibit Number 20
                                                                         18···have the same force and effect as if interposed at
20·· ··Deed of Trust for Spotted Fawn Lane                               19···the time of taking the deposition.
 ·· ···property· · · · · · · · · · · · · · · · · ·51  ·
21···Deposition Exhibit Number 21                                        20···
 ·· ···Glacier Bank Statement 7/31/19· · · · · · · ·57
22···Deposition Exhibit Number 22                                        21·· · · · ·It was further stipulated and agreed by and
 ·· ···Glacier Bank Statement 8/30/19· · · · · · · ·63                   22···between counsel for the respective parties and the
23···Deposition Exhibit Number 23
 ·· ···Spreadsheet of payments made by Candy or                          23···witness that the reading and signing of the
24·· ··Viking on behalf of Scott· · · · · · · · · ··66
 ···Deposition
    ·               Exhibit Number 24                                    24···deposition would be expressly reserved.
25·· ··Deed of Trust for second refinance of                             25···
 ·· ···Spotted Fawn Lane property· · · · · · · · · ·70

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·1·· · · · · · ··THURSDAY, SEPTEMBER 14, 2023                ·1·· · · ··Q.··Do you work remotely for that company
·2···Thereupon,                                              ·2···now?
·3·· · · · · · · · · ··CANDY WILLIAMS,                       ·3·· · · ··A.··Yes.
·4···a witness of lawful age, having been first duly         ·4·· · · ··Q.··How long have you worked remotely?
·5···sworn to tell the truth, the whole truth and            ·5·· · · ··A.··Since May of 2020, when I moved to
·6···nothing but the truth, testified upon her oath as       ·6···Montana.
·7···follows:                                                ·7·· · · ··Q.··So COVID fixed the no-remote policy your
·8·· · · · · · · · · · · ··
                          EXAMINATION                        ·8···company had?
·9···BY MR. GARDNER:                                         ·9·· · · ··A.··No, actually, I gave notice in January
10·· · · ··Q.··Could you state your name and address for     10···and they were like, yeah, we don't want to lose you
11···the record.                                             11···so work remotely.
12·· · · ··A.··Candy Williams, 11423 Spotted Fawn Lane,      12·· · · ··Q.··Oh, good.
13···Bigfork, Montana.                                       13·· · · ··A.··Winning.··{Laughter.}··They're the
14·· · · ··Q.··And Ms. Williams, I'm Trent Gardner, as       14···company that's no remote, so...
15···you know, and I represent the trustee of your           15·· · · ··Q.··What did you do before you worked for the
16···husband Scott's bankruptcy estate, okay?                16···mortgage company?
17·· · · ··A.··Okay.                                         17·· · · ··A.··I worked for Kalispell Electric.
18·· · · ··Q.··Have you ever been deposed before?            18·· · · ··Q.··What years did you work for Kalispell
19·· · · ··A.··No.                                           19···Electric?
20·· · · ··Q.··You just sat through your husband Scott's     20·· · · ··A.··I don't have -- I don't recall the dates
21···deposition, do you have any questions about the         21···off the top of my head.
22···process or how it works?                                22·· · · ··Q.··Roughly?
23·· · · ··A.··No.                                           23·· · · ··A.··I worked there for three years, and I
24·· · · ··Q.··Okay.··And as I told Mr. Williams, please     24···left in 2011.
25···wait for me to finish asking the question before        25·· · · ··Q.··So you lived in the Flathead up until

                                                    Page 7                                                       Page 9

·1···you start your answer.··And if you can, give verbal     ·1···2011?
·2···answers, okay?                                          ·2·· · · ··A.··I lived in the Flathead back and -- I've
·3·· · · ··A.··Okay.                                         ·3···been back and forth, but I lived there for a couple
·4·· · · ··Q.··Could you briefly tell me your                ·4···years and I moved to Salt Lake because my dad got
·5···educational background.                                 ·5···sick.
·6·· · · ··A.··High school.                                  ·6·· · · ··Q.··Okay.··So you moved to Salt Lake in 2011?
·7·· · · ··Q.··Okay.··And are you currently employed?        ·7·· · · ··A.··Yes, I believe it was 2011.
·8·· · · ··A.··Yes.                                          ·8·· · · ··Q.··And then you lived there until 2020, when
·9·· · · ··Q.··How are you employed?                         ·9···you moved back to the Flathead?
10·· · · ··A.··I'm employed -- like how am I employed        10·· · · ··A.··Correct.
11···like --                                                 11·· · · ··Q.··Okay.··Have you ever filed bankruptcy?
12·· · · ··Q.··What is your job?                             12·· · · ··A.··Medical bankruptcy?
13·· · · ··A.··Payroll, I do payroll for a mortgage          13·· · · ··Q.··Any kind of bankruptcy.
14···company.                                                14·· · · ··A.··Okay, yes.
15·· · · ··Q.··What's the name of that company?              15·· · · ··Q.··When was that?
16·· · · ··A.··Primary Residential Mortgage.                 16·· · · ··A.··Roughly '94/'95.
17·· · · · · ··COURT REPORTER:··Sorry?                       17·· · · ··Q.··And what was it that led to that
18·· · · · · ··THE WITNESS:··Primary Residential             18···bankruptcy?
19···Mortgage.                                               19·· · · ··A.··My daughter got really sick and I had a
20·· · · ··Q.··(BY MR. GARDNER)··How long have you been      20···lot of medical bills.
21···with Primary Residential Mortgage?                      21·· · · ··Q.··Sorry.
22·· · · ··A.··Going on 14 years.                            22·· · · · · ··Tell me about how Viking Investments came
23·· · · ··Q.··Did you start working with them in Salt       23···about.
24···Lake?                                                   24·· · · ··A.··Living in the Flathead and being from the
25·· · · ··A.··Yes.                                          25···Flathead, I know that the way to make money is to


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·1···own your own business, you can't make it there         ·1···LLC before?
·2···working for someone else.··So I had -- I have          ·2·· · · ··A.··Yes.
·3···family in the Flathead, so we talked many times, my    ·3·· · · ··Q.··What was the name of that LLC?
·4···daughter, my mother, about doing coffee shops, even    ·4·· · · ··A.··That was western travel Explorer, it's
·5···my aunt, it was a big deal at that time, so that's     ·5···WET so Western Explorer Travel.
·6···why I created Viking Investments.                      ·6·· · · ··Q.··When was that?
·7·· · · ··Q.··And Viking Investments was created in        ·7·· · · ··A.··Around 2011, when I moved back to Salt
·8···late July of 2019; right?                              ·8···Lake.
·9·· · · ··A.··Yes, but I did the emails and all of         ·9·· · · ··Q.··Did you form that LLC?
10···that, set up the email and all of that stuff like      10·· · · ··A.··I did with my mother.
11···in April of 2020.                                      11·· · · ··Q.··Was that a Montana LLC or a Utah LLC?
12·· · · ··Q.··The email for what?                          12·· · · ··A.··I think it was Nevada.
13·· · · ··A.··For Viking Investments.                      13·· · · ··Q.··And did that LLC actually do business?
14·· · · ··Q.··Viking Investments has an email?             14·· · · ··A.··No, we never got anywhere after setting
15·· · · ··A.··Yes.                                         15···it up.
16·· · · ··Q.··What's the URL or the address for Viking     16·· · · ··Q.··Never what?
17···Investments?                                           17·· · · ··A.··After setting it up we never did
18·· · · ··A.··It's vikinginvestmentsllc@outlook.com.       18···anything.
19·· · · ··Q.··When did you set that up?                    19·· · · ··Q.··Is it still active?
20·· · · ··A.··I believe it was April.··I cannot read       20·· · · ··A.··No.
21···this.                                                  21·· · · ··Q.··Did you do the paperwork to set up Viking
22·· · · ··Q.··Are you looking at --                        22···Investments?
23·· · · ··A.··April 10th of 2019.                          23·· · · ··A.··I did.
24·· · · ··Q.··Are you looking at Exhibit 10, the           24·· · · ··Q.··Okay.··And so you say that you set up the
25···timeline?                                              25···email regarding Viking Investments in April,

                                                  Page 11                                                      Page 13

·1·· · · ··A.··Yes, the timeline.                           ·1···what -- do you have documentation regarding that?
·2·· · · ··Q.··I don't know if that's actually -- It's      ·2·· · · ··A.··I have the welcome email, yes.
·3···actually Exhibit 6, sorry.··So why was it that you     ·3·· · · ··Q.··Okay.··What was the contact that you had
·4···didn't set up the LLC at that time?                    ·4···with Legal Zoom on how to create an LLC?
·5·· · · ··A.··I was still trying to figure out who was     ·5·· · · ··A.··I just looked up how to set up an LLC.
·6···going to be part of it and what we were going to       ·6·· · · ··Q.··Oh, okay.··So you just went to Legal
·7···do.                                                    ·7···Zoom's website?
·8·· · · ··Q.··Okay.··And in July were you still            ·8·· · · ··A.··Yeah, uh-huh.
·9···planning on going forward with the business            ·9·· · · ··Q.··Okay.··And you set up a -- or contacted
10···venture?                                               10···USPS to set up a P.O. Box in Montana under Viking
11·· · · ··A.··Yes.                                         11···Investments LLC?
12·· · · ··Q.··And still planning on going forward with     12·· · · ··A.··Correct.
13···the coffee shop?                                       13·· · · ··Q.··Did you ever set up that post office box?
14·· · · ··A.··In July?                                     14·· · · ··A.··I did.
15·· · · ··Q.··Yes.                                         15·· · · ··Q.··In the name of Viking Investments LLC?
16·· · · ··A.··Yes.                                         16·· · · ··A.··I think it was Viking Investments LLC and
17·· · · ··Q.··How were you going to fund the coffee        17···myself.
18···shop?                                                  18·· · · ··Q.··When did you set up that P.O. Box?
19·· · · ··A.··I was going to get a small business loan.    19·· · · ··A.··I don't have the exact date, but I can
20·· · · ··Q.··Okay.··Did Viking Investments ever           20···provide that.
21···start a coffee shop?                                   21·· · · ··Q.··On your timeline it says April 8th of
22·· · · ··A.··No.                                          22···2009 -- or 2019 that you contacted the United
23·· · · ··Q.··Did it ever apply for an SBA loan?           23···States Post Office to set up the P.O. Box in
24·· · · ··A.··No.                                          24···Montana.
25·· · · ··Q.··Okay.··Had you ever been a member of an      25·· · · ··A.··It must've been an email, Viking


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·1···Investments, because that's what they're all dated      ·1·· · · ··A.··Yep.
·2···for -- yeah, Viking Investments -- so yes, sorry.       ·2·· · · ··Q.··You said you wanted to build credit for
·3·· · · ··Q.··Okay.··But if Viking Investments wasn't       ·3···Viking Investments LLC, did you go get credit cards
·4···formed, you couldn't get a P.O. Box in Viking           ·4···in the name of Viking Investments LLC?
·5···Investments' name, could've you?                        ·5·· · · ··A.··No, I tried, but...
·6·· · · ··A.··I thought I did.                              ·6·· · · ··Q.··Okay.··Did you go apply for any business
·7·· · · ··Q.··Okay.··What is that P.O. Box?                 ·7···loans?
·8·· · · ··A.··It was in Columbia Falls, I don't have        ·8·· · · ··A.··No.
·9···the P.O. Box anymore.                                   ·9·· · · ··Q.··Did you pursue opening a coffee shop that
10·· · · ··Q.··Okay.··I'm going to hand you what we'll       10···you said was the purpose for forming Viking
11···mark as Exhibit 13.                                     11···Investments LLC?
12·· · · · · ··(Discussion held off the record.)             12·· · · ··A.··I don't think I understood the question.
13···EXHIBITS:                                               13·· · · ··Q.··You said you formed Viking Investments
14·· · · · · ··(Deposition Exhibit Number 13 marked for      14···LLC for the purpose of doing a coffee shop.
15···identification.)                                        15·· · · ··A.··Correct.
16·· · · ··Q.··(BY MR. GARDNER)··Would you agree with me     16·· · · ··Q.··Did you -- after you formed Viking
17···that that is the Articles of Organization for           17···Investments LLC, did you pursue opening that coffee
18···Viking Investments LLC?                                 18···shop?
19·· · · ··A.··Yes.                                          19·· · · ··A.··No, but I did look at coffee shops.
20·· · · ··Q.··Okay.··So you applied for one-hour            20·· · · ··Q.··Before you formed Viking Investments LLC;
21···expedited handling; correct?                            21···right?
22·· · · ··A.··Yes.                                          22·· · · ··A.··No, all around the same time.
23·· · · ··Q.··And you had set up the email address and      23·· · · ··Q.··Okay.··But you never took any steps
24···everything months before, what was the urgency of       24···towards opening one?
25···having one-hour handling on July 26th of -- or July     25·· · · ··A.··Correct.

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·1···25th of 2019?                                           ·1·· · · ··Q.··And you, despite the urgency to build
·2·· · · ··A.··I was already up here for my daughter's       ·2···credit and that, you never applied for any loans
·3···wedding, and I just wanted to get something set up      ·3···with Viking Investments?
·4···so I could start building credit and applying for       ·4·· · · ··A.··Correct.
·5···credit for the company.··And I opened a bank            ·5·· · · ··Q.··Okay.··Has Viking Investments LLC ever
·6···account the same day.                                   ·6···engaged in any business activity?
·7·· · · ··Q.··Okay.··Opening a bank account doesn't         ·7·· · · ··A.··No.
·8···build credit for a company.                             ·8·· · · ··Q.··Has it ever engaged in any investment
·9·· · · ··A.··I know.··Obviously I know that, I'm           ·9···activity?
10···not --                                                  10·· · · ··A.··Well, the house.
11·· · · ··Q.··Okay.··And you had to have it formed to       11·· · · ··Q.··So the house, the residence you live in
12···open a bank account, but what was urgent that was       12···now --
13···happening where you needed one-hour expedited           13·· · · ··A.··Yes.
14···handling?                                               14·· · · ··Q.··-- that was an investment activity for
15·· · · ··A.··I was here for my daughter's wedding.         15···Viking Investments LLC?
16·· · · ··Q.··Okay.··You did this online; right?            16·· · · ··A.··Initially, yes.
17·· · · ··A.··I did.··But I wanted to also open the         17·· · · ··Q.··Okay.··And Viking Investments LLC paid
18···bank account.                                           18···roughly 360-some-thousand-dollars for that house;
19·· · · ··Q.··Okay.                                         19···correct?
20·· · · ··A.··And it was with Glacier Bank.                 20·· · · ··A.··I don't have the exact number off my
21·· · · ··Q.··Okay.··You used the street address of 238     21···head -- off hand.
22···North Hilltop Road, Columbia Falls, what is that?       22·· · · ··Q.··Okay.··How was that an investment for
23·· · · ··A.··That's my mother's address.                   23···Viking Investments LLC?
24·· · · ··Q.··And the postal address, P.O. Box 3223, is     24·· · · ··A.··Because the intention was to flip the
25···that the P.O. Box you were talking about?               25···house.


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·1·· · · ··Q.··Okay.··And how quickly did you expect to      ·1·· · · ··Q.··So was the intent all along just to
·2···flip the house?                                         ·2···purchase the house in Viking Investments' name and
·3·· · · ··A.··Quickly, before the end of the year.          ·3···then quitclaim it to you?
·4·· · · ··Q.··While you were still living in Salt Lake?     ·4·· · · ··A.··No.
·5·· · · ··A.··Correct.                                      ·5·· · · ··Q.··Well, you just testified that nothing had
·6·· · · ··Q.··Okay.··What changed?                          ·6···changed in that time, yet Viking Investments bought
·7·· · · ··A.··I got to keep my job, and that's really       ·7···it and then quitclaimed it to you three months
·8···the only thing that changed.··And the house was a       ·8···later, what changed?
·9···lot more work than we initially thought.                ·9·· · · ··A.··Money.
10·· · · ··Q.··Okay.··So as of January of 2020, you          10·· · · ··Q.··How so?
11···testified that you gave your notice in January of       11·· · · ··A.··Because I needed money, I had to pay
12···2020 that you were going to quit your job; correct?     12···Scott back, I had to pay off some bills.
13·· · · ··A.··Correct.                                      13·· · · ··Q.··What did you have to pay Scott back?
14·· · · ··Q.··Okay.··And so up until that point you         14·· · · ··A.··Scott and I agreed that I would pay all
15···believed you were going to quit your job, and the       15···of his credit card debts and bills.
16···purpose was for Viking Investments LLC to flip the      16·· · · ··Q.··Okay.··And all of that was in place when
17···house as an investment?                                 17···Viking Investments bought the house in September?
18·· · · ··A.··Correct.                                      18·· · · ··A.··That's correct.
19·· · · ··Q.··Okay.··And so then in January of 2020,        19·· · · ··Q.··What changed between September and
20···you gave your company notice that you were going to     20···December, you knew the amount of money and you knew
21···resign; correct?                                        21···the bills you had and all of that, what changed to
22·· · · ··A.··Correct.                                      22···make you quitclaim it to you individually?
23·· · · ··Q.··And your company told you, no, we want to     23·· · · ··A.··Because I needed to get a loan on the
24···keep you, you can work remotely; correct?               24···house, and they wouldn't do it in Viking
25·· · · ··A.··Correct.                                      25···Investments' name.

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·1·· · · ··Q.··And it was at that time when the idea of      ·1·· · · ··Q.··Okay.··How much money did you put into
·2···Viking Investments LLC buying the house as an           ·2···Viking Investments?
·3···investment turned to we might use it as our             ·3·· · · ··A.··I have a couple vehicles in Viking
·4···residence; correct?                                     ·4···Investments, I don't know if that counts.··I don't
·5·· · · ··A.··Not initially, still, no, we weren't          ·5···know.··So you're asking how much money I put into
·6···planning on living there.                               ·6···Viking Investments?
·7·· · · ··Q.··Okay.··So you were still thinking about       ·7·· · · ··Q.··Yeah, how much of your own money did you
·8···using it --                                             ·8···put into Viking Investments?
·9·· · · ··A.··Yes.                                          ·9·· · · ··A.··The cost of my vehicles,
10·· · · ··Q.··-- as an investment?                          10···20-something-thousand dollars.
11·· · · · · ··Okay.··For Viking Investments LLC?            11·· · · ··Q.··When did you put vehicles into Viking
12·· · · ··A.··No, at this time it was in my name.           12···Investments?
13·· · · ··Q.··Okay.··So Viking Investments LLC never        13·· · · ··A.··I don't know the exact date.··I don't
14···did any real investment activity, then; correct?        14···know the --
15·· · · ··A.··No.                                           15·· · · ··Q.··Recently?
16·· · · ··Q.··Okay.··And nothing had really changed in      16·· · · ··A.··No, it's been years ago.
17···your plans before January of 2020 from when Viking      17·· · · ··Q.··Okay.··Why did you put vehicles into
18···Investments LLC bought the house until January of       18···Viking Investments?
19···2020, nothing had really changed because you still      19·· · · ··A.··Because they were company vehicles.
20···thought you were quitting your job; right?              20·· · · ··Q.··Company vehicles for what?
21·· · · ··A.··Correct.                                      21·· · · ··A.··For business, I was -- I still intend to
22·· · · ··Q.··Okay.··And so Viking Investments LLC          22···use it as a business.
23···bought the house in September and quitclaimed it to     23·· · · ··Q.··You just testified Viking Investments has
24···you in December?                                        24···never done any business.
25·· · · ··A.··Yes.                                          25·· · · ··A.··That's correct.


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·1·· · · ··Q.··Okay.··So what business were the vehicles     ·1·· · · ··A.··No.
·2···put in there for?                                       ·2·· · · ··Q.··Was the intent to use it to put Scott's
·3·· · · ··A.··My intention was and still is to use the      ·3···$400,000 from the trust into?
·4···company as a business.                                  ·4·· · · ··A.··Say the question gain.
·5·· · · ··Q.··Okay.··What vehicles were put into Viking     ·5·· · · ··Q.··Was Viking Investments LLC formed for the
·6···Investments?                                            ·6···purpose of having a place to put Scott's $400,000?
·7·· · · ··A.··A Subaru, a Cadillac.                         ·7·· · · ··A.··No.
·8·· · · ··Q.··Anything else?                                ·8·· · · ··Q.··No?
·9·· · · ··A.··I'm not sure if my fifth wheel is in          ·9·· · · ··A.··No.
10···Viking Investments, I know it's registered to them.     10·· · · ··Q.··It was formed on July 25th of 2019;
11·· · · ··Q.··The fifth wheel is registered to Viking       11···correct?
12···Investments LLC?                                        12·· · · ··A.··Correct.
13·· · · ··A.··(Witness nods head.)                          13·· · · ··Q.··And Scott's 400,000 was deposited into
14·· · · ··Q.··Okay.··When -- any idea when those            14···its bank account on August 2nd, 2019; correct?
15···vehicles were put in there?                             15·· · · ··A.··Correct.
16·· · · ··A.··I don't have the exact date in front of       16·· · · ··Q.··But the purpose of forming it, doing the
17···me.                                                     17···expedited formation of the entity and getting a
18·· · · ··Q.··Okay.··I'm going to hand you what we'll       18···bank account while you were in up there -- while
19···mark as Exhibit 14.··Well, do you have any idea the     19···you were in Columbia Falls and Kalispell was not to
20···year they were put in there?                            20···have a place to put Scott's $400,000?
21·· · · ··A.··No, 2019 or 2020, I just can't remember       21·· · · ··A.··No.
22···what exact date.                                        22·· · · ··Q.··Okay.··What was the purpose?
23·· · · ··Q.··Who did the work -- who did the work to       23·· · · ··A.··To open a gas station -- or sorry, a
24···put them into Viking Investments?                       24···coffee shop.··Scott was opening a gas station.
25·· · · ··A.··I did.                                        25·· · · ··Q.··That was the purpose of Viking

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·1·· · · ··Q.··Okay.··I'm going to hand you what we'll       ·1···Investments LLC?
·2···mark as Exhibit 14.                                     ·2·· · · ··A.··No, mine was a coffee shop.··Scott was --
·3···EXHIBITS:                                               ·3···with his $400,000, he was opening a gas station.
·4·· · · · · ··(Deposition Exhibit Number 14 marked for      ·4·· · · ··Q.··Through Viking Investments?
·5···identification.)                                        ·5·· · · ··A.··No.
·6·· · · ··A.··Where do I put this one?                      ·6·· · · ··Q.··Okay.··So my question was the purpose of
·7·· · · ··Q.··(BY MR. GARDNER)··Just right in the pile.     ·7···Viking Investments.
·8·· · · ··A.··Okay.                                         ·8·· · · ··A.··Coffee shop.
·9·· · · ··Q.··What is that document?                        ·9·· · · ··Q.··Okay.··That was never formed; correct?
10·· · · ··A.··Operating Agreement.                          10·· · · ··A.··Correct.
11·· · · ··Q.··Of what?                                      11·· · · ··Q.··And never really pursued after Viking
12·· · · ··A.··Viking Investments.                           12···Investments LLC was formed; correct?
13·· · · ··Q.··Who put this agreement together?              13·· · · ··A.··I don't believe that's correct because
14·· · · ··A.··It was just a standard form that I filled     14···when we were up here, Montana Coffee Traders was
15···in the blanks.                                          15···for sale, and I looked at that.
16·· · · ··Q.··Who put this agreement together?              16·· · · ··Q.··When you were up here right around the
17·· · · ··A.··I believe I did.                              17···time --
18·· · · ··Q.··Do you know for certain?                      18·· · · ··A.··Yes.
19·· · · ··A.··I do not know for certain.                    19·· · · ··Q.··You looked at Montana Coffee Traders, you
20·· · · ··Q.··Okay.··Could your husband Scott have put      20···never pursued it; correct?
21···this together?                                          21·· · · ··A.··Correct.
22·· · · ··A.··He could have.                                22·· · · ··Q.··So it was formed on the 25th, you opened
23·· · · ··Q.··So as of July 25th, 2019, when Viking         23···a bank account the next day, and seven or eight
24···Investments was formed, was the intent to use it to     24···days later Scott's $400,000 was in there.··But
25···purchase the house?                                     25···you're telling me when Viking Investments LLC was


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·1···formed, the intent was not to put the $400,000 in       ·1·· · · ··Q.··And your testimony is that was a loan
·2···there?                                                  ·2···from Scott?
·3·· · · ··A.··Correct.                                      ·3·· · · ··A.··Yes.
·4·· · · ··Q.··Scott testified that he decided not to do     ·4·· · · ··Q.··Okay.··So Viking Investments -- whatever
·5···the gas station, based on your timeline, on             ·5···hasn't been repaid, Viking Investments owes Scott
·6···July 24th or 25th, so he decided not to do that         ·6···that money; correct?
·7···before the LLC was formed, so what was his -- what      ·7·· · · ··A.··Correct.
·8···was going to be done with the 400,000?                  ·8·· · · ··Q.··Okay.··But Viking Investments doesn't
·9·· · · ··A.··I don't know.                                 ·9···have the money to repay Scott because it used that
10·· · · ··Q.··Okay.··So your testimony is that when you     10···$400,000 to buy a house; correct?
11···formed Viking Investments LLC on July 25th of 2019,     11·· · · ··A.··Correct.
12···on an expedited basis so that you could open a bank     12·· · · ··Q.··Okay.··I want to back up.··So this
13···account while you were in Kalispell, no part of the     13···conversation between July 26th and August 2nd was,
14···intention in doing that was to have somewhere to        14···okay, I'm going to borrow $400,000 from you and so
15···put Scott's $400,000?                                   15···you're going to put your money into Viking
16·· · · ··A.··No, at that time we had not talked about      16···Investments so I don't have to get an SBA loan so I
17···that, no.                                               17···can start my coffee company; correct?
18·· · · ··Q.··Okay.··So what changed between July           18·· · · ··A.··It wasn't just a coffee company, that was
19···25th -- or July 25th or 26th, when you opened the       19···my goal at the time, but it was any investment that
20···bank account, and August 2nd, when the $400,000         20···I could earn money on, yes.
21···went in there?                                          21·· · · ··Q.··And after the $400,000 went into your
22·· · · ··A.··Scott and I talked about different            22···account, Viking's account, you did zero to try and
23···options, after the gas station fell through, on our     23···pursue a coffee shop; correct?
24···way home from my daughter's wedding.                    24·· · · ··A.··No, I don't believe that's true.
25·· · · ··Q.··All right.··So before July 25th,              25·· · · ··Q.··What did you do after the $400,000 went

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·1···absolutely no intention to put Scott's money into       ·1···into there to pursue a coffee shop?
·2···Viking Investments LLC, in the next seven days it       ·2·· · · ··A.··I looked at tons of different options to
·3···switched to the $400,000 is going into Viking           ·3···invest the money.
·4···Investments LLC; correct?                               ·4·· · · ··Q.··When?
·5·· · · ··A.··Correct.                                      ·5·· · · ··A.··I don't have the dates in front of me.
·6·· · · ··Q.··Okay.··Why wasn't Scott a member of           ·6·· · · ··Q.··Okay.··What options did you look at?
·7···Viking Investments LLC?                                 ·7·· · · ··A.··We -- I looked at houses, I looked at
·8·· · · ··A.··Scott and I don't share anything.             ·8···other coffee shops, I looked at rental properties.
·9·· · · ··Q.··Okay.··So you -- you don't share anything     ·9·· · · ··Q.··Okay.··When did you look at those
10···except for the $400,000 he gave to you?                 10···properties?
11·· · · ··A.··Correct.                                      11·· · · ··A.··When about I found the house, September
12·· · · ··Q.··Okay.··So what was the discussion in          12···something.
13···between when you formed this LLC on an expedited        13·· · · ··Q.··You didn't find the house until
14···basis to get a bank account with no intention of        14···September?
15···the $400,000 going in there and August 2nd, when it     15·· · · ··A.··Correct.
16···went in there, what was the discussion that you and     16·· · · ··Q.··Okay.··So up until September there was a
17···Scott had that made you decide to do that?              17···couple months when the money was in Viking's
18·· · · ··A.··Instead of getting a small business loan,     18···account when you were looking at coffee shops and
19···borrowing the money from Scott.                         19···investments and things?
20·· · · ··Q.··To start your coffee shop?                    20·· · · ··A.··Correct.
21·· · · ··A.··Yes.                                          21·· · · ··Q.··Okay.··So I'm going to hand you
22·· · · ··Q.··And so the $400,000 -- and to be clear,       22···Exhibit 15.
23···$400,000 of Scott's money went into Viking              23···EXHIBITS:
24···Investments' bank account; correct?                     24·· · · · · ··(Deposition Exhibit Number 15 marked for
25·· · · ··A.··Correct.                                      25···identification.)


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·1·· · · ··Q.··(BY MR. GARDNER)··Exhibit 15 is the           ·1·· · · ··A.··The week of her wedding.
·2···closing statement from Viking Investments' purchase     ·2·· · · ··Q.··Okay.··So you were up here for a week,
·3···of the house at 11423 Spotted Fawn Lane, Bigfork;       ·3···and most of that would've been before her wedding,
·4···correct?                                                ·4···getting ready for the wedding; correct?
·5·· · · ··A.··Correct.                                      ·5·· · · ··A.··That's correct.
·6·· · · ··Q.··Okay.··And the purchase price was             ·6·· · · ··Q.··And so you would've looked at this house
·7···$358,000; correct?                                      ·7···in Bigfork sometime before your daughter's wedding?
·8·· · · ··A.··Correct.                                      ·8·· · · ··A.··I don't know if it was before or after,
·9·· · · ··Q.··And Viking Investments put a $10,000          ·9···but the same week, yes.
10···deposit on the house that was received by the title     10·· · · ··Q.··And before you went and looked at the
11···company on August 26th of 2019; correct?                11···house, you would've had to have made a decision
12·· · · ··A.··Correct.                                      12···that, oh, we're not gonna do a coffee shop, we're
13·· · · ··Q.··Okay.··August 2nd, Viking gets the money      13···going to look for a house instead; correct?
14···with the intent of buying a coffee shop, then looks     14·· · · ··A.··No, I was looking at a lot of different
15···at other investments and the money's a loan from        15···options.
16···Scott; right?                                           16·· · · ··Q.··Okay.··In any event, by August 26th you
17·· · · ··A.··Essentially, yes.                             17···had put a $10,000 down payment down on the house --
18·· · · ··Q.··Okay.··And -- well, I mean, I assume you      18···or Viking Investments LLC had put the down payment
19···looked at the house before Viking Investments put a     19···down, and that's the same house that you and your
20···deposit on it; correct?                                 20···husband live in now; correct?
21·· · · ··A.··Yes, I believe -- I don't know the exact      21·· · · ··A.··Correct.
22···date, but it was really quick because of the price.     22·· · · ··Q.··Okay.··And that $10,000 that was put down
23···I looked at it when I was here for my daughter's        23···on the house came from the money that, according to
24···wedding.                                                24···Scott, he transferred to Viking Investments, I
25·· · · ··Q.··And that was in late July?                    25···believe your testimony is that was a loan that had

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·1·· · · ··A.··No.                                           ·1···to be repaid?
·2·· · · ··Q.··When was that?                                ·2·· · · ··A.··I'm saying loan because there were
·3·· · · ··A.··I don't have that date in front of me.        ·3···intentions behind it, but it's not like an actual
·4·· · · ··Q.··You don't know?                               ·4···written loan agreement, but there were conditions,
·5·· · · ··A.··I don't -- no, I don't.··Off the top of       ·5···I guess.
·6···my head I don't know what day she got married.··I       ·6·· · · ··Q.··Okay.··So it was Scott's $400,000, and he
·7···want to say -- I don't know.··She's divorced now,       ·7···transferred it to Viking on 8/2/19; agreed?
·8···so it's hard to keep track.                             ·8·· · · ··A.··Agreed.
·9·· · · ··Q.··Early August?                                 ·9·· · · ··Q.··And when Scott transferred that to
10·· · · ··A.··I don't know.··I don't recall.                10···Viking, Viking gave him nothing in return at that
11·· · · ··Q.··On a break can you check and find out         11···time; correct?
12···when your daughter was married?                         12·· · · ··A.··On the day of the transfer?
13·· · · ··A.··Absolutely.                                   13·· · · ··Q.··Yes.
14·· · · ··Q.··Okay.··When you were up here, how long        14·· · · ··A.··No.
15···were you up here for your daughter's wedding?           15·· · · ··Q.··And Viking did not enter into any loan
16·· · · ··A.··The first time we were up here looking at     16···agreement or promissory note with Scott; correct?
17···venues in July.                                         17·· · · ··A.··Correct.
18·· · · ··Q.··Okay.                                         18·· · · ··Q.··And there was nothing in writing
19·· · · ··A.··And then the second time we were up here      19···requiring Viking Investments to ever give that
20···probably a week --                                      20···money -- any of that money back to Scott; correct?
21·· · · ··Q.··Okay.                                         21·· · · ··A.··Correct.
22·· · · ··A.··-- for her actual wedding week.               22·· · · ··Q.··And in fact, within a couple months,
23·· · · ··Q.··So whenever you -- did you look at this       23···Viking Investments had spent 368 -- or $359,000 of
24···house in Bigfork when you were up here looking for      24···that money buying a house which it titled in Viking
25···wedding venues or the week of her wedding?              25···Investments LLC; correct?


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·1·· · · ··A.··Correct.                                      ·1···completely stressed from his dad's divorce
·2·· · · ··Q.··And after it bought the house, Viking         ·2···situation, and he wanted to take a break and not do
·3···Investments didn't give Scott a mortgage on it or       ·3···anything for awhile.··So he was going to buy the
·4···anything to evidence that it owed Scott a lot of        ·4···gas station, he was very committed to it, he didn't
·5···money; correct?                                         ·5···want me to buy the house, so...
·6·· · · ··A.··I did start -- Viking Investments             ·6·· · · ··Q.··I get all of that, but none of that
·7···actually paid Scott I think a couple days after         ·7···explains why he had to get the money out of his
·8···that.                                                   ·8···name.
·9·· · · ··Q.··There are a few times in there Viking         ·9·· · · ··A.··Yeah, I understand the question.··I don't
10···Investments gave $2500 --                               10···have an answer.
11·· · · ··A.··Yes.                                          11·· · · ··Q.··What was the urgency to get the money out
12·· · · ··Q.··-- correct?                                   12···of Scott's name?
13·· · · ··A.··Yes.                                          13·· · · ··A.··There wasn't -- to my knowledge there's
14·· · · ··Q.··And if Scott hadn't given all of his          14···not an urgency, other than we found this property.
15···money to Viking Investments, there would've been no     15·· · · ··Q.··Which Scott could've bought in his own
16···reason to ask Viking Investments for money;             16···name?
17···correct?                                                17·· · · ··A.··He could have.
18·· · · ··A.··Correct.                                      18·· · · ··Q.··But neither you nor Scott wanted the
19·· · · ··Q.··And likewise, if Scott hadn't given all       19···house to be in Scott's name, did you?
20···of his money to Viking Investments, he could've         20·· · · ··A.··I don't think we talked about it being in
21···paid his own bills; correct?                            21···his name.
22·· · · ··A.··Correct.                                      22·· · · ··Q.··So in December the house -- Viking
23·· · · ··Q.··He could've paid off his credit cards;        23···Investments, who you're the sole member of;
24···correct?                                                24···correct?
25·· · · ··A.··(Witness nods head.)                          25·· · · ··A.··Correct.

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·1·· · · ··Q.··He could've done whatever he wanted with      ·1·· · · ··Q.··Quitclaimed the house to you
·2···it; correct?                                            ·2···individually; correct?
·3·· · · ··A.··Yes.                                          ·3·· · · ··A.··Correct.
·4·· · · ··Q.··He could have, for example, bought a          ·4·· · · ··Q.··What did you give Viking Investments for
·5···house; correct?                                         ·5···that transfer?
·6·· · · ··A.··He could've.                                  ·6·· · · ··A.··I did not give Viking Investments
·7·· · · ··Q.··There was nothing preventing Scott from       ·7···anything.
·8···using that $400,000 to buy the house that was           ·8·· · · ··Q.··Okay.··I'm going to hand you what we'll
·9···bought a month after the money was transferred and      ·9···mark as Deposition Exhibit 16.
10···put into Viking Investments' name, he could've          10···EXHIBITS:
11···bought it with his $400,000; correct?                   11·· · · · · ··(Deposition Exhibit Number 16 marked for
12·· · · ··A.··Correct.                                      12···identification.)
13·· · · ··Q.··And instead, Viking Investments bought it     13·· · · ··A.··Yeah.
14···with Scott's $400,000; correct?                         14·· · · ··Q.··(BY MR. GARDNER)··That's a copy of the
15·· · · ··A.··Correct.                                      15···quitclaim deed from Viking Investments to you;
16·· · · ··Q.··Okay.··So help me with this.··Because of      16···correct?
17···that, the fact that Scott could've bought the house     17·· · · ··A.··Correct.
18···in his name, Scott wouldn't have needed Viking          18·· · · ··Q.··And it says For Value Received, but in
19···Investments to give him $2500, if he hadn't             19···reality there was no value exchanged between you
20···transferred the money, Scott could've paid off his      20···and Viking; correct?
21···own credit cards.··I'm confused as to what the          21·· · · ··A.··Correct.
22···possible purpose of doing it that way was, can you      22·· · · ··Q.··And this was dated December 27 of 2019;
23···explain that to me?                                     23···correct?
24·· · · ··A.··So part of our conversation was Scott had     24·· · · ··A.··26th.
25···worked his butt off and had a heart attack and was      25·· · · ··Q.··Oh, I'm sorry, I was looking at the


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·1···recorded date.··Yeah, the date that -- and by the       ·1·· · · ··Q.··But the reason for the refinance was
·2···way, you signed it on behalf of Viking Investments      ·2···primarily to fix up the house and pay off Scott's
·3···LLC; correct?                                           ·3···credit card debt?
·4·· · · ··A.··Yes.                                          ·4·· · · ··A.··And mine, too.
·5·· · · ··Q.··And so you signed it on December 26th, it     ·5·· · · ··Q.··Okay.··I'm going to hand you what we'll
·6···just wasn't recorded until December 27th.               ·6···mark as Exhibit 17.
·7·· · · ··A.··Okay.                                         ·7···EXHIBITS:
·8·· · · ··Q.··Okay.··So the house was quitclaimed from      ·8·· · · · · ··(Deposition Exhibit Number 17 marked for
·9···Viking to you before the stuff in January about you     ·9···identification.)
10···giving up your job and then finding out you could       10·· · · ··Q.··(BY MR. GARDNER)··And this is the loan
11···keep the job, which you said changed what the plans     11···application you filed -- you filled out in December
12···were; correct?                                          12···of 2019 to apply for the $200,000 mortgage you
13·· · · ··A.··Correct.                                      13···wanted to get on the home; correct?
14·· · · ··Q.··So why was it, again, that the house was      14·· · · ··A.··Correct.
15···transferred to your name individually?                  15·· · · ··Q.··Okay.··And do you see a date on this
16·· · · ··A.··Money.                                        16···application, it looks like you signed it on
17·· · · ··Q.··Explain that to me.                           17···December 26th, 2019; correct?
18·· · · ··A.··I needed to get money to fix the house.       18·· · · ··A.··Yes.
19···I needed to get money to pay off Scott's credit         19·· · · ··Q.··Okay.··And starting on page 2 there's a
20···cards.··And they wouldn't do it in Viking               20···list of your various debt; do you see that?
21···Investments' name, that's the only reason it's          21·· · · ··A.··Yes.
22···still not in Viking Investments' name.                  22·· · · ··Q.··Okay.··And the first one is America First
23·· · · ··Q.··Okay.··And so the two reasons you needed      23···Credit, and there's a balance of $41,975; do you
24···money were to fix the house and pay off Scott's         24···see that?
25···credit cards; correct?                                  25·· · · ··A.··Yep.

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·1·· · · ··A.··Correct.                                      ·1·· · · ··Q.··What is that debt for?
·2·· · · ··Q.··You didn't use any of that money to pay       ·2·· · · ··A.··Fifth wheel.
·3···off your credit card debt?                              ·3·· · · ··Q.··And whose name is that fifth wheel in?
·4·· · · ··A.··Yes, I did.                                   ·4·· · · ··A.··Mine.
·5·· · · ··Q.··So another reason was to pay off your         ·5·· · · ··Q.··Okay.··The next one is Wells Fargo Dealer
·6···credit card debt; correct?                              ·6···Services for 13,671; do you see that?
·7·· · · ··A.··Yes.                                          ·7·· · · ··A.··Yes.
·8·· · · ··Q.··You had a very large amount of credit         ·8·· · · ··Q.··And what is that for?
·9···card debt, didn't you?                                  ·9·· · · ··A.··That's my car.
10·· · · ··A.··No.                                           10·· · · ··Q.··Okay.··And whose name is that car in?
11·· · · ··Q.··No?··More than 10,000?                        11·· · · ··A.··Mine.
12·· · · ··A.··Yes.                                          12·· · · ··Q.··Okay.··Is that the Cadillac?
13·· · · ··Q.··More than 20,000?                             13·· · · ··A.··Yes.
14·· · · ··A.··Not in credit cards, no.                      14·· · · ··Q.··So at that time those cars were in your
15·· · · ··Q.··What other debt did you have in December      15···name individually?
16···2019?                                                   16·· · · ··A.··Yes.
17·· · · ··A.··I had a payment on my fifth wheel.            17·· · · ··Q.··Okay.··So when was that they were
18·· · · ··Q.··Okay.··How much?                              18···transferred into Viking?
19·· · · ··A.··And my car.                                   19·· · · ··A.··I'd have to find a date for you.
20·· · · ··Q.··Okay.··You had quite a bit on the fifth       20·· · · ··Q.··Okay.··The next one is American Express
21···wheel and on the car; correct?                          21···of 9,677; correct?
22·· · · ··A.··Correct.                                      22·· · · ··A.··Correct.
23·· · · ··Q.··And so you had credit card debt, fifth        23·· · · ··Q.··Is that a solely your American Express
24···wheel debt and your car debt; correct?                  24···account?
25·· · · ··A.··Correct.                                      25·· · · ··A.··No, that's solely Scott's.


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·1·· · · ··Q.··Solely Scott's?                               ·1···account?
·2·· · · ··A.··Yes.                                          ·2·· · · ··A.··Yes.
·3·· · · ··Q.··Is that an American Express that's in         ·3·· · · ··Q.··And do you agree with me that you also
·4···Scott's name that you also have a card for that you     ·4···had a card on this account and charged money to
·5···spend money on?                                         ·5···this account?
·6·· · · ··A.··I have a -- what is it called, spouse         ·6·· · · ··A.··Yes.
·7···card.                                                   ·7·· · · ··Q.··Okay.··And by the way, looking back at
·8·· · · ··Q.··Okay.··So that's an American Express that     ·8···Exhibit 17 --
·9···you charged things to and you spend money on;           ·9·· · · ··A.··Which one is that?
10···correct?                                                10·· · · ··Q.··That is your application for your credit.
11·· · · ··A.··Occasionally.                                 11·· · · ··A.··Uh-huh.
12·· · · ··Q.··Yeah.··And so you're on that account as       12·· · · ··Q.··You are signing that under penalty of
13···well and you have a card on that account?               13···perjury; correct?
14·· · · ··A.··I do not any longer.                          14·· · · ··A.··What?
15·· · · ··Q.··Okay.··At that time you did?                  15·· · · ··Q.··An application for credit to a bank,
16·· · · ··A.··Yes.                                          16···you're declaring that your statements are true and
17·· · · ··Q.··And the $17,000 -- Remember Scott             17···correct; right?
18···testifying about the $25,000 --                         18·· · · ··A.··Yes.
19·· · · ··A.··Yes.                                          19·· · · ··Q.··Okay.··And the only creditor, the only
20·· · · ··Q.··-- from the trust that went to -- $17,000     20···person applying for a loan here is you, Candy
21···of that went to pay down an American Express            21···Williams; correct?
22···account?                                                22·· · · ··A.··Correct.
23·· · · ··A.··Yes.                                          23·· · · ··Q.··And so on page 2, when it starts the list
24·· · · ··Q.··That went to pay down an American Express     24···of liabilities of the creditor, you are telling the
25···that you had a card on, and a lot of the money          25···bank that you are liable for every one of these

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·1···owing was money you had charged; correct?               ·1···debts you've listed; correct?
·2·· · · ··A.··No, I don't believe that's true.              ·2·· · · ··A.··Yes.
·3·· · · ··Q.··I'm going to mark this as Exhibit 18.         ·3·· · · ··Q.··Okay.··So on page 3, the next four,
·4···EXHIBITS:                                               ·4···there's a JPMCB - Card Service, there's a JPMCB
·5·· · · · · ··(Deposition Exhibit Number 18 marked for      ·5···card, there's a Comenitybank/Victoria, a Chevron
·6···identification.)                                        ·6···PLLC, then there's 4,000, 3,000, 2,000, 2,000,
·7·· · · ··Q.··(BY MR. GARDNER)··And this is an American     ·7···you're telling the bank that you owe that money;
·8···Express Platinum card in Scott Williams' name;          ·8···correct?
·9···correct?                                                ·9·· · · ··A.··Where does that say that?··Because I
10·· · · ··A.··Correct.                                      10···thought these were just a list of things on my
11·· · · ··Q.··And if you look on the third page there's     11···credit record.
12···a payment of $17,992; correct?                          12·· · · ··Q.··It says Assets and Liabilities, list of
13·· · · ··A.··The second page?                              13···creditors, name -- well, you're doing a credit app,
14·· · · ··Q.··Yes, top of Payments and Credits.             14···if you're not responsible for the liabilities that
15·· · · ··A.··Yep.                                          15···you're listing, why would you put them on an
16·· · · ··Q.··And if you look at Exhibit 1, I can't         16···application?
17···find my copy of Exhibit 1, but Exhibit 1 is an          17·· · · ··A.··I didn't put them on this application,
18···American Express statement, and do you agree            18···this was done by the mortgage company.
19···there's a payment to American Express for $17,992       19·· · · ··Q.··Okay.··So let's start on the top of
20···on it, if you --                                        20···page 3, the JPMCB Card Service for $4,256, is that
21·· · · ··A.··Yes.                                          21···you?
22·· · · ··Q.··Okay.··So do you agree with me this is        22·· · · ··A.··I do not know if that's mine or Scott's.
23···the account that the payment -- the American            23·· · · ··Q.··Okay.··Well, if your name is not at least
24···Express account that the payment was made on from       24···on the account, it won't show up on your credit
25···when Scott transferred the $25,000 to the U.S. Bank     25···report, would it?


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·1·· · · ··A.··I was a cardholder.                           ·1·· · · ··A.··Correct.
·2·· · · ··Q.··Okay.··So you were -- at minimum you were     ·2·· · · ··Q.··And then if you look at page 2, the
·3···a cardholder on that account?                           ·3···amounts that were paid directly from the title
·4·· · · ··A.··Correct.                                      ·4···company from the proceeds of that loan, there was
·5·· · · ··Q.··Next one, the next JPMCB Card?                ·5···41,975 to American First Credit Union; correct?
·6·· · · ··A.··Same, I think that's Scott's, but I'm not     ·6·· · · ··A.··That's mine, yes.
·7···positive.                                               ·7·· · · ··Q.··And that was for your fifth wheel that's
·8·· · · ··Q.··But you would've been a cardholder?           ·8···titled in your name; correct?
·9·· · · ··A.··Yes.                                          ·9·· · · ··A.··Correct.
10·· · · ··Q.··Okay.··The next one, the Comenitybank?        10·· · · ··Q.··And there was 13,671 to American First
11·· · · ··A.··Yeah, that's mine.                            11···Credit Union; correct?
12·· · · ··Q.··Okay.··The Chevron one?                       12·· · · ··A.··Correct.
13·· · · ··A.··Scott's, cardholder.                          13·· · · ··Q.··Or to Wells Fargo Dealer Services.
14·· · · ··Q.··You were a cardholder as well?                14·· · · ··A.··Yeah, sorry, yes.
15·· · · · · ··All right.··Let's go back two pages,          15·· · · ··Q.··And that is for the Cadillac, to pay that
16···another JPMCB card for 2,200?                           16···off; correct?
17·· · · ··A.··Yeah, I don't know if that one's mine or      17·· · · ··A.··Correct.
18···Scott's.                                                18·· · · ··Q.··And so that was paid off with funds from
19·· · · ··Q.··Okay.··Ulta card?                             19···this mortgage, and that is in your name; correct?
20·· · · ··A.··Mine.                                         20·· · · ··A.··Correct.
21·· · · ··Q.··Old Navy?                                     21·· · · ··Q.··The payoff to American Express of $9,677,
22·· · · ··A.··Mine.··Mine.                                  22···whose American Express account was that?
23·· · · ··Q.··Okay.··Just tell me if any of those below     23·· · · ··A.··That's Scott's.
24···that are not yours.                                     24·· · · ··Q.··That you also had a card and spent money
25·· · · ··A.··I'm not sure about the Wells Fargo one or     25···on; correct?

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·1···the First Premier one.                                  ·1·· · · ··A.··Correct.
·2·· · · ··Q.··Okay.                                         ·2·· · · ··Q.··Okay.··Payoff to JPMCB?
·3·· · · ··A.··Or the JP Morgan.                             ·3·· · · ··A.··Scott's.
·4·· · · ··Q.··So Wells Fargo was $1,100, the JPMCB with     ·4·· · · ··Q.··That you also had a card?
·5···700, or which other one did you say?                    ·5·· · · ··A.··I've had a card but I didn't charge on
·6·· · · ··A.··The Wells Fargo, the First Premier.           ·6···it.
·7·· · · ··Q.··Okay.                                         ·7·· · · ··Q.··Okay.··Do you know whether you are liable
·8·· · · ··A.··Some of these we both had accounts, so I      ·8···for those funds?
·9···don't -- I don't know off the top of my head which      ·9·· · · ··A.··No, none of these, they've all been
10···ones were which.                                        10···removed off my credit.
11·· · · ··Q.··Okay.··I'm going to hand you what we'll       11·· · · ··Q.··So your testimony is -- Well, let me ask
12···mark as Exhibit 19.                                     12···you this.
13···EXHIBITS:                                               13·· · · · · ··In order to get this loan, the mortgage
14·· · · · · ··(Deposition Exhibit Number 19 marked for      14···company required you to pay down some of your debt
15···identification.)                                        15···out of the proceeds in order to qualify for the
16·· · · · · ··(Discussion held off the record.)             16···loan?
17·· · · ··Q.··(BY MR. GARDNER)··So you have Exhibit 19      17·· · · ··A.··Correct.
18···in front of you; correct?                               18·· · · ··Q.··Okay.··So they required you to pay off
19·· · · ··A.··Correct.                                      19···the American First Credit Union for your fifth
20·· · · ··Q.··And Exhibit 19 is the closing statement       20···wheel; correct?
21···from when you took out the loan and had a mortgage      21·· · · ··A.··Yes.
22···placed on the Bigfork property; correct?                22·· · · ··Q.··And they required you to pay off Wells
23·· · · ··A.··Correct.                                      23···Fargo for your Cadillac; correct?
24·· · · ··Q.··And you took out a $200,000 loan;             24·· · · ··A.··Correct.
25···correct?                                                25·· · · ··Q.··And that was for the purpose of getting


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·1···your other debt down low enough so that you             ·1·· · · ··Q.··Did you contact anybody about those
·2···qualified for the loan?                                 ·2···coffee shops?
·3·· · · ··A.··Correct.                                      ·3·· · · ··A.··No.
·4·· · · ··Q.··So you believe that you weren't liable on     ·4·· · · ··Q.··So what did your investigation consist
·5···those two accounts, even though they were paid off      ·5···of?
·6···out of closing, which to me indicates that was          ·6·· · · ··A.··I just was looking at like buying one of
·7···liability of yours that had to be paid off to bring     ·7···those little -- I did look at Montana Coffee
·8···down your debt to income ratio?                         ·8···Traders, but that went quick because it was super
·9·· · · · · ··MR. MURPHY:··I'll object as                   ·9···cheap.··I looked at wholesalers.
10···argumentative.··Take your best shot at answering        10·· · · ··Q.··Let me interrupt you.··When you say you
11···the question.                                           11···looked at Montana Coffee Traders, what did you do?
12·· · · · · ··MR. GARDNER:··It was a very bad question.     12·· · · ··A.··I looked at the -- there was a business
13···I sustain your objection.··{Laughter.}                  13···website kind of like Realtor.com, but it's a
14·· · · · · ··THE WITNESS:··So do I answer or no?           14···business website, I looked through that, but that
15·· · · · · ··MR. GARDNER:··No, you don't, no you           15···was already really quickly under contract.
16···don't.                                                  16·· · · ··Q.··Okay.··So Montana Coffee Traders, you
17·· · · · · ··THE WITNESS:··Okay.··It's confusing for       17···looked at an ad?
18···me, too.                                                18·· · · ··A.··Yes.
19·· · · ··Q.··(BY MR. GARDNER)··Yeah, to me that            19·· · · ··Q.··Okay.··What else did you do in
20···indicated that you must've been liable for them,        20···investigating this coffee business?
21···also, but if you don't know, that's fine.               21·· · · ··A.··I put menus together.··I put different
22·· · · ··A.··Okay.                                         22···flavors.··We were going -- my daughter and I were
23·· · · ··Q.··I'm just going to mark this really quick      23···going back and forth with names.··In Salt Lake we
24···and then we'll let you take a break.                    24···went to the wholesalers place and looked at costs.
25·· · · ··A.··Okay.                                         25···I looked at trailers, too, to do like the pop-up --

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·1·· · · ··Q.··Just so we have it in the list documents,     ·1···I don't know what they're called, like where you
·2···I'm handing you Exhibit 20.                             ·2···park a trailer and they serve you coffee, those.
·3···EXHIBITS:                                               ·3·· · · ··Q.··In Salt Lake?
·4·· · · · · ··(Deposition Exhibit Number 20 marked for      ·4·· · · ··A.··No, online, I looked at those online.
·5···identification.)                                        ·5·· · · ··Q.··You looked at those online?
·6·· · · ··Q.··(BY MR. GARDNER)··Can you just confirm        ·6·· · · ··A.··Yes, and just different properties and
·7···for me that that is a copy of the trust indenture       ·7···opportunities online of the area where I could do
·8···that was placed on the property as part of this         ·8···it.
·9···$200,000 loan in December of 2019?                      ·9·· · · ··Q.··Okay.··You never actually talked to
10·· · · ··A.··Correct.                                      10···somebody about the coffee business or --
11·· · · · · ··MR. GARDNER:··Okay.··Let's go off the         11·· · · ··A.··No.
12···record and take a ten-minute break.                     12·· · · ··Q.··-- hired a consultant or went and visited
13·· · · · · ··(Whereupon, the proceedings were in           13···actual businesses and met with the owners or
14···recess at 3:51 p.m. and subsequently reconvened at      14···anything like that; correct?
15···4:06 p.m., and the following proceedings were           15·· · · ··A.··Correct.
16···entered of record:)                                     16·· · · ··Q.··And in Kalispell, Columbia Falls,
17·· · · ··Q.··(BY MR. GARDNER)··So just to be clear,        17···Bigfork, you never met with anybody about a coffee
18···when Viking Investments LLC was formed, you didn't      18···business there; correct?
19···have a plan to buy a house; correct?                    19·· · · ··A.··Correct.
20·· · · ··A.··Correct.                                      20·· · · ··Q.··You never talked to any landowners about
21·· · · ··Q.··When you were looking at coffee shops and     21···placing a coffee business on their property;
22···you said you looked at Montana Coffee Traders and       22···correct?
23···things like that, were you using a business broker      23·· · · ··A.··Correct.
24···or a Realtor or anything?                               24·· · · ··Q.··You never looked at sheds or buildings
25·· · · ··A.··No.                                           25···for coffee businesses; correct?


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·1·· · · ··A.··Correct.                                      ·1·· · · ··A.··It was.
·2·· · · ··Q.··Okay.··And so you never had a Realtor for     ·2·· · · ··Q.··What was her name?
·3···the purpose of the coffee business; correct?            ·3·· · · ··A.··I want to say it's Joyce.
·4·· · · ··A.··Correct.                                      ·4·· · · ··Q.··Oh, it's probably on the documents;
·5·· · · ··Q.··Did -- did you -- when you bought the         ·5···right?··I can look later.
·6···house, who was your Realtor?                            ·6·· · · · · ··Okay.··And how long do you think it was
·7·· · · ··A.··I didn't have a Realtor, I just called an     ·7···between when you looked at -- Let me back up.
·8···ad online, and whoever answered the phone -- it was     ·8·· · · · · ··At the end of July, when you were -- you
·9···Chuck Olson's -- somebody at their office in            ·9···said you were up here looking for venues for your
10···Kalispell.                                              10···daughter's wedding?
11·· · · ··Q.··So you called whoever had the listing?        11·· · · ··A.··Correct.
12·· · · ··A.··Yes.                                          12·· · · ··Q.··Okay.··Was -- and your daughter got
13·· · · ··Q.··Did they act as a dual broker for you --      13···married in August; right?
14···for Viking on the closing of the property?              14·· · · ··A.··Correct.
15·· · · ··A.··Dual broker?                                  15·· · · · · ··MR. MURPHY:··We figured out the date, by
16·· · · ··Q.··Did they represent the buyer and the          16···the way.
17···seller?                                                 17·· · · ··Q.··(BY MR. GARDNER)··Oh, I'll ask you, what
18·· · · ··A.··No.                                           18···was the date of your daughter's wedding?
19·· · · ··Q.··Okay.··So you didn't call the person who      19·· · · ··A.··August 10th.
20···had the Bigfork home listed; correct?                   20·· · · ··Q.··August 10th, okay.··So at the end of
21·· · · ··A.··Like individually?                            21···July, like July -- so were you up here from
22·· · · ··Q.··Yeah.                                         22···July 24th through August 10th?
23·· · · ··A.··No.··You know how they -- like Chuck          23·· · · ··A.··Oh, no.
24···Olson will list a million properties, I just called     24·· · · ··Q.··No?··So at the end of July was Scott up
25···the number on that property and whoever answered        25···here with you?

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·1···the phone is who we dealt with to purchase the          ·1·· · · ··A.··Yes.
·2···property.                                               ·2·· · · ··Q.··Did Scott go into Glacier Bank with you
·3·· · · ··Q.··Okay.··And when you say that property,        ·3···to open up Viking Investments' account?
·4···you found the ad for the property that Viking ended     ·4·· · · ··A.··Yes.
·5···up purchasing online; correct?                          ·5·· · · ··Q.··Why?
·6·· · · ··A.··Correct.                                      ·6·· · · · · ··MR. WILLIAMS:··It was hot outside.
·7·· · · ··Q.··And you looked at the Realtor who had         ·7·· · · ··A.··I don't know why.
·8···that property listed and called that Realtor?           ·8·· · · ··Q.··(BY MR. GARDNER)··Who chose Glacier Bank?
·9·· · · ··A.··Correct.                                      ·9·· · · ··A.··Me, I banked with them before.
10·· · · ··Q.··Okay.··So you -- and you hired somebody       10·· · · ··Q.··And when did you open up that account, do
11···at Chuck Olson to be your broker for closing it, or     11···you remember?
12···did you use a broker?                                   12·· · · ··A.··July 25th.
13·· · · ··A.··I didn't use a broker.                        13·· · · ··Q.··I'm going to hand you what we'll mark as
14·· · · ··Q.··Okay.··How many times did you look at the     14···Exhibit 21.
15···house in Bigfork before --                              15···EXHIBITS:
16·· · · ··A.··One time.                                     16·· · · · · ··(Deposition Exhibit Number 21 marked for
17·· · · ··Q.··-- before Viking bought it?                   17···identification.)
18·· · · · · ··And who went to look at it?                   18·· · · ··Q.··(BY MR. GARDNER)··And that is a bank
19·· · · ··A.··Me and Scott did.                             19···account statement for the Glacier Bank account for
20·· · · ··Q.··Okay.··And who did you go -- what Realtor     20···Viking Investments LLC; correct?
21···did you go with to look at it?                          21·· · · ··A.··Yes.
22·· · · ··A.··The person from Chuck Olson --                22·· · · ··Q.··And it looks like the opening deposit was
23·· · · ··Q.··Chuck Olson?                                  23···made on July 25th; correct?
24·· · · ··A.··-- met us there, yes.                         24·· · · ··A.··Correct.
25·· · · ··Q.··It was a she, the Realtor at Chuck Olson?     25·· · · ··Q.··Okay.··And $100 was put in there;


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·1···correct?                                                ·1···to find a date, I don't know off the top of my
·2·· · · ··A.··That's correct.                               ·2···head.
·3·· · · ··Q.··Other than that -- well, whose hundred        ·3·· · · ··Q.··You merged what two accounts?
·4···dollars was that?                                       ·4·· · · ··A.··Online, I'm talking about online.··So I
·5·· · · ··A.··It was my hundred dollars.                    ·5···had to log into Viking Investments separately
·6·· · · ··Q.··Other than that hundred dollars did you       ·6···versus my own personal account, they merged them
·7···ever put any other cash or money into Viking            ·7···together online, now online when I make a deposit
·8···Investments' bank account?                              ·8···online, it automatically goes into Viking's
·9·· · · ··A.··Since then?                                   ·9···account, then I have to take it back out of Viking
10·· · · ··Q.··Yes.                                          10···Investments.
11·· · · ··A.··Yes.                                          11·· · · ··Q.··At Glacier Bank?
12·· · · ··Q.··When?                                         12·· · · ··A.··Yes, yes.
13·· · · ··A.··Recently.                                     13·· · · ··Q.··Is Glacier Bank your only bank now?
14·· · · ··Q.··How recently?                                 14·· · · ··A.··No.
15·· · · ··A.··A week ago.··I keep looking for my phone.     15·· · · ··Q.··Do you still have the American --
16·· · · ··Q.··Okay.··So you put some money in Viking        16·· · · ··A.··Yes.
17···Investments' account a week ago?                        17·· · · ··Q.··-- First bank account?
18·· · · ··A.··Yeah.                                         18·· · · ··A.··Uh-huh.
19·· · · ··Q.··Prior to that you had never put any --        19·· · · ··Q.··What other bank account -- do you have a
20·· · · ··A.··No.                                           20···personal bank account at Glacier Bank?
21·· · · ··Q.··-- money in --                                21·· · · ··A.··I do.
22·· · · · · ··In fact, the bank account had never been      22·· · · ··Q.··So now all of your paychecks go into
23···used for anything other than the hundred dollars        23···Viking Investments LLC?
24···and the $400,000 of Scott's money that was put in       24·· · · ··A.··No, just what I -- not through, just when
25···there; correct?                                         25···they go into like Viking automatically.

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·1·· · · ··A.··No, it was my main account for a long         ·1·· · · ··Q.··For how long?
·2···time, for awhile.                                       ·2·· · · ··A.··Awhile, I couldn't -- I don't know off
·3·· · · ··Q.··Viking Investments' account was?              ·3···the top of my head, it's been awhile.
·4·· · · ··A.··Yes.                                          ·4·· · · ··Q.··What were you talking about depositing
·5·· · · ··Q.··You just told me that you never put any       ·5···money into Viking Invest --
·6···money into Viking Investments' account other than       ·6·· · · ··A.··That's what -- that's what I did.
·7···this hundred dollars.                                   ·7·· · · ··Q.··How long have you been doing that for?
·8·· · · ··A.··No, I said a couple of weeks ago I put        ·8·· · · ··A.··I'd say year, I don't know off the top of
·9···money in there.··I have put money in there since        ·9···my head.
10···then, multiple times; the account's still open.         10·· · · ··Q.··Why did you merge your personal account
11·· · · ··Q.··When have you put money in it?                11···at Glacier Bank with the Viking Investments LLC
12·· · · ··A.··Multiple times.                               12···bank account?
13·· · · ··Q.··I've asked you in discovery for all of        13·· · · ··A.··I didn't merge them, I'm just talking
14···Viking Investments' bank accounts and I was given       14···about online access.··Like when I go into the app
15···certain ones --                                         15···with Glacier Bank, I had to go into two different
16·· · · ··A.··Okay.                                         16···accounts, and Glacier Bank put them into one online
17·· · · ··Q.··-- and I was given no others.                 17···access so I can view all of my accounts.
18·· · · · · ··So what else have you used Viking             18·· · · ··Q.··One online --
19···Investments' bank account for?                          19·· · · ··A.··Yes.
20·· · · ··A.··That -- here -- what happens is, because      20·· · · ··Q.··-- portal?
21···that was originally my account online, when I           21·· · · ··A.··Yes, yes.
22···deposit a check online, it goes into Viking's           22·· · · ··Q.··Okay.··But when you make a deposit, it
23···account.                                                23···doesn't go into the Viking Investments LLC bank
24·· · · ··Q.··Since when?                                   24···account, it goes into your personal account;
25·· · · ··A.··Since I merged my two accounts.··I'd have     25···correct?


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·1·· · · ··A.··No, it goes into Viking Investments LLC.      ·1···statement from Glacier Bank, and that is the one
·2·· · · ··Q.··Okay.··Will you supplement your discovery     ·2···for August; correct?
·3···and give me all of Viking Investments LLC's bank        ·3·· · · ··A.··August, correct.
·4···account statements up to the present date?              ·4·· · · ··Q.··Okay.··So you went -- you and Scott drove
·5·· · · ··A.··Of course.                                    ·5···back to Salt Lake from the Flathead on the 27th;
·6·· · · ··Q.··Okay.··Because what I was given and           ·6···correct?
·7···understood from the discovery responses show no         ·7·· · · ··A.··Correct, we actually flew.
·8···deposits into Viking Investments LLC other than the     ·8·· · · ··Q.··Oh, you flew?
·9···initial $100 and the $400,000 from Scott.               ·9·· · · ··A.··Yes.
10·· · · ··A.··Okay.                                         10·· · · ··Q.··Okay.··So you got back to Salt Lake and
11·· · · ··Q.··But your testimony still is that Viking       11···Scott went to Zions Bank and got the cashier's
12···Investments LLC has never been used for any             12···check for $400,000 on August 2nd; correct?
13···business purpose or any purpose other than buying       13·· · · ··A.··I don't know when he got the cashier's
14···that house and then transferring it to you;             14···check.
15···correct?                                                15·· · · ··Q.··I will represent to you that it was
16·· · · ··A.··Correct.                                      16···August 2nd.
17·· · · ··Q.··Okay.··So back to the end of July, you        17·· · · ··A.··Okay.
18···formed Viking Investments LLC on the 25th, you          18·· · · ··Q.··And so Scott gets the check on August 2nd
19···opened the Glacier Bank account on the 25th, you        19···and then did you fly back to the Flathead?
20···were in Kalispell or Columbia Falls with Scott;         20·· · · ··A.··We drove.
21···correct?                                                21·· · · ··Q.··Oh, so then you drove?
22·· · · ··A.··Correct.                                      22·· · · ··A.··Yes.
23·· · · ··Q.··And your daughter got married on              23·· · · ··Q.··So did you leave Salt Lake on the 2nd or
24···August 10th; correct?                                   24···3rd?
25·· · · ··A.··Correct.                                      25·· · · ··A.··The 4th.

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·1·· · · ··Q.··When did you go back to Salt Lake after       ·1·· · · ··Q.··On the 4th?
·2···July 25th?                                              ·2·· · · ··A.··Uh-huh.
·3·· · · ··A.··July 27th.                                    ·3·· · · ··Q.··Okay.··And so you got to the Flathead
·4·· · · ··Q.··Okay.··July 27th, you and Scott went back     ·4···probably the evening of the 4th?
·5···to Salt Lake?                                           ·5·· · · ··A.··Probably, yeah.
·6·· · · ··A.··Correct.                                      ·6·· · · ··Q.··Okay.··And then you took the cashier's
·7·· · · ··Q.··Okay.··And when did you and Scott come        ·7···check into a Glacier Bank branch the next day and
·8···back to the Flathead?                                   ·8···deposited it into Viking's account; correct?
·9·· · · ··A.··August 4th.                                   ·9·· · · ··A.··Correct.
10·· · · ··Q.··So Viking Investments' account is at          10·· · · ··Q.··Okay.··So in the first mortgage in
11···Glacier Bank.··When Scott deposited the $400,000,       11···December of 2019 where you took the $200,000 loan
12···did he have Zions Bank just do an electronic            12···out, we walked through payments that were made to
13···transfer or was that check personally deposited         13···creditors for the RV trailer in your name and the
14···into Viking Investments' account?                       14···Cadillac in your name and the other credit cards.
15·· · · ··A.··I believe it was a cashier's check.           15···And the remaining amount of the money went into
16·· · · · · ··MR. WILLIAMS:··Yeah, if it helps, you put     16···your personal account; correct?
17···it in the bank on the 5th.                              17·· · · ··A.··I do not recall.
18·· · · · · ··THE WITNESS:··Yeah.                           18·· · · ··Q.··Okay.··And was some of that -- I think it
19·· · · ··Q.··(BY MR. GARDNER)··All right, I apologize,     19···was about 140,000 that you got from that
20···let's make that an exhibit.                             20···mortgage -- if you look at Exhibit 19, the -- Okay.
21···EXHIBITS:                                               21···So you ended up, after paying off those debts,
22·· · · · · ··(Deposition Exhibit Number 22 marked for      22···walking away with $120,000; do you see that?
23···identification.)                                        23·· · · ··A.··Yes.
24·· · · ··Q.··(BY MR. GARDNER)··Okay.··Exhibit 22, that     24·· · · ··Q.··Okay.··That $120,000 didn't go back to
25···is another Viking Investments bank account              25···Scott; correct?


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·1·· · · ··A.··Some of it did, yes.                          ·1·· · · ··A.··Correct.
·2·· · · ··Q.··Okay.··And some of it -- what was some of     ·2·· · · ··Q.··Okay.
·3···it that went back to Scott, how did it go back to       ·3·· · · ··A.··With the timeline.
·4···Scott?                                                  ·4·· · · ··Q.··Okay.··So $98,000?
·5·· · · ··A.··I started paying all the bills.               ·5·· · · ··A.··Yes.
·6·· · · ··Q.··Okay.··And you've given me a list, and        ·6·· · · ··Q.··Okay.··So is your position that all of
·7···Exhibit 6 is a list that you've put together of         ·7···that $98,000 should be a credit back against the
·8···bills that you say were paid for Scott?                 ·8···$400,000 Scott gave you?
·9·· · · ··A.··Yes.                                          ·9·· · · · · ··MR. MURPHY:··Objection, calls for a legal
10·· · · ··Q.··Okay.··And I'm actually going to -- So        10···conclusion.··Go ahead and answer.
11···this is 23, this is Exhibit 23.                         11·· · · ··A.··Yes.
12···EXHIBITS:                                               12·· · · ··Q.··(BY MR. GARDNER)··Okay.··So if that
13·· · · · · ··(Deposition Exhibit Number 23 marked for      13···should be a credit back against it for you,
14···identification.)                                        14···shouldn't the house just be in Scott's name?
15·· · · ··Q.··(BY MR. GARDNER)··And this is a list you      15·· · · · · ··MR. MURPHY:··Objection, calls for a legal
16···put together, and that was provided to us in            16···conclusion.··Go ahead and answer.
17···response to discovery requests; correct?                17·· · · ··A.··Probably.
18·· · · ··A.··Correct.                                      18·· · · ··Q.··(BY MR. GARDNER)··Yeah, and the money was
19·· · · ··Q.··Okay.··And the intent in this list was to     19···Scott's that you used to purchase it; correct?
20···identify amounts that you claim you or Viking have      20·· · · ··A.··Correct.
21···paid on behalf of Scott; correct?                       21·· · · ··Q.··And a lot of the loans that were taken
22·· · · ··A.··Correct.                                      22···out against the house were used to pay off vehicles
23·· · · ··Q.··Okay.                                         23···and things that are titled in your name; correct?
24·· · · ··A.··And mine's just updated with the most         24·· · · ··A.··Correct.
25···recent payments on the house, everything else is        25·· · · ··Q.··So that wasn't Scott's, but the house was

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·1···the same.                                               ·1···used to do all of that; right?
·2·· · · ··Q.··Okay.··So if we look at the last two          ·2·· · · · · ··MR. MURPHY:··Well, objection,
·3···pages, you identify $92,000 of money that you say       ·3···argumentative and complex.··Answer to extent that
·4···was spent on remodeling the house.··Was the bulk of     ·4···you can.
·5···that 92,000 spent shortly after the first loan in       ·5·· · · ··Q.··(BY MR. GARDNER)··Okay.··A lot of the
·6···December of 2019?··Was a lot of that money spent to     ·6···current debt against the house is money that was
·7···remodel the house at that time?··Or tell me about       ·7···taken out to pay off assets that are in your name,
·8···the length of that remodel.                             ·8···like the fifth wheel and your car and things like
·9·· · · ··A.··Still ongoing.                                ·9···that; correct?
10·· · · ··Q.··Still ongoing?                                10·· · · ··A.··I wouldn't say a lot of the money, no,
11·· · · ··A.··Yes.··I know that the carpet was              11···but some, yes.
12···purchased and I believe the dishwasher prior to,        12·· · · ··Q.··And some of that financing was used to
13···but that's really it, we've just done it as we          13···pay off your credit cards; correct?
14···could.··And with COVID, you couldn't even get           14·· · · ··A.··Yes.
15···anything, couldn't order anything.                      15·· · · ··Q.··Okay.··And in 2021 did you do a
16·· · · ··Q.··Okay.··And so that $92,000, that is all       16···refinancing?
17···of the money that you've put into the house for the     17·· · · ··A.··I believe so, I think it was April or
18···remodel; correct?                                       18···something.
19·· · · ··A.··No, it's -- it's been updated since then,     19·· · · ··Q.··Okay.··Whose idea was it to do the
20···that's what I changed, because we continued to          20···refinancing?
21···build it, it's 98.                                      21·· · · ··A.··Mine.
22·· · · ··Q.··Okay.                                         22·· · · ··Q.··And why did you need to do a refinancing
23·· · · ··A.··Just with a couple of things.                 23···in April of 2021?
24·· · · ··Q.··That would be on that Exhibit 6 that I        24·· · · ··A.··I believe I got a lower interest rate.
25···made a copy of?                                         25···Oh, yes, I got a lower interest rate.


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·1·· · · ··Q.··Okay.··But as of 2021, your balance on        ·1·· · · ··Q.··What year of boat is it?
·2···the first mortgage was less than $200,000; right?       ·2·· · · ··A.··2016.
·3·· · · ··A.··I don't recall.                               ·3·· · · ··Q.··When did you buy it?
·4·· · · ··Q.··Well, the original loan amount was            ·4·· · · ··A.··Last year.
·5···$200,000 and you stayed current on the loan;            ·5·· · · ··Q.··Is that what you used the money from the
·6···correct?                                                ·6···refi for?
·7·· · · ··A.··Yes.                                          ·7·· · · ··A.··I took a loan on it.
·8·· · · ··Q.··So it would've been less than that?           ·8·· · · ··Q.··So it's a 2016 boat, how much did you buy
·9·· · · ··A.··Yeah, but I don't know what dollar            ·9···that boat for?
10···amount, yes.                                            10·· · · ··A.··I don't have the exact number in front of
11·· · · ··Q.··Okay.··I'm going to hand you Exhibit 24.      11···me.
12···EXHIBITS:                                               12·· · · ··Q.··Roughly?
13·· · · · · ··(Deposition Exhibit Number 24 marked for      13·· · · ··A.··50 grand.
14···identification.)                                        14·· · · ··Q.··Did you make a down payment on the boat?
15·· · · ··Q.··(BY MR. GARDNER)··And do you recognize        15·· · · ··A.··I did not.
16···that as the Deed of Trust that was placed on it         16·· · · ··Q.··Okay.··Who's that financed through?
17···when you refinanced on April 26th, 2021?                17·· · · ··A.··USAA.
18·· · · ··A.··Yes.                                          18·· · · ··Q.··Who did you buy the boat from?
19·· · · ··Q.··And if you'd turn to the second page,         19·· · · ··A.··Jesco Marine.
20···this loan's for $285,000?                               20·· · · ··Q.··What kind of boat is it?
21·· · · ··A.··It wasn't for -- I didn't get $285,000.       21·· · · ··A.··Chaparral.
22·· · · ··Q.··Because you had to pay off the first          22·· · · ··Q.··And you said the purchase price that
23···mortgage.                                               23···$50,000?
24·· · · ··A.··Yes, so this is the total amount.             24·· · · ··A.··Roughly.
25·· · · ··Q.··But that's at least $85,000 more than you     25·· · · ··Q.··And you didn't make any down payment on

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·1···owed on the first one?                                  ·1···it?
·2·· · · ··A.··Correct.                                      ·2·· · · ··A.··No.
·3·· · · ··Q.··One of my issues is I don't have any          ·3·· · · ··Q.··Did you trade anything in on it?
·4···closing statements or the loan application for when     ·4·· · · ··A.··No.
·5···you did the refinance, so I'd ask that you              ·5·· · · ··Q.··Okay.··Over to the left up by the house
·6···supplement the discovery with those.                    ·6···there's something that looks like a trailer, do you
·7·· · · · · ··Do you recall in April of 2021 what you       ·7···know what that is?
·8···used that extra money for?                              ·8·· · · ··A.··I believe that's Scott's trailer.
·9·· · · ··A.··I do not.                                     ·9·· · · ··Q.··What --
10·· · · ··Q.··Okay.··I'm going to show you what we'll       10·· · · ··A.··I don't know why it's white, but yeah.
11···mark as Exhibit 25.                                     11·· · · ··Q.··What trailer is that?
12···EXHIBITS:                                               12·· · · ··A.··His trailer, he has a trailer.
13·· · · · · ··(Deposition Exhibit Number 25 marked for      13·· · · ··Q.··What kind of trailer?
14···identification.)                                        14·· · · ··A.··I don't know what kind it is.
15·· · · · · ··THE WITNESS:··Are we done with this one?      15·· · · ··Q.··Is that a -- has he had that for a long
16·· · · · · ··MR. GARDNER:··Yep.                            16···time?
17·· · · ··Q.··(BY MR. GARDNER)··Exhibit 25 is a Google      17·· · · ··A.··Yes.
18···Earth picture, and that is your residence; correct?     18·· · · ··Q.··Is that the old Pace American trailer?
19·· · · ··A.··Yes.                                          19·· · · · · ··MR. WILLIAMS:··Yeah, let's see where --
20·· · · ··Q.··Okay.··Now, in the driveway it looks like     20···let's see if I can see the picture.··Where is it?
21···there's a rather large boat up by the house; do you     21···This thing?
22···see that?                                               22·· · · · · ··MR. GARDNER:··Up by the garage.
23·· · · ··A.··Yes.                                          23·· · · · · ··THE WITNESS:··Yeah, that's it, the old
24·· · · ··Q.··Whose boat is that?                           24···Pace American trailer, yeah.
25·· · · ··A.··That's mine.                                  25·· · · · · ··MR. GARDNER:··Okay.


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·1·· · · ··Q.··(BY MR. GARDNER)··Do you know what the        ·1·· · · · · ··MR. WILLIAMS:··When was that picture
·2···two vehicles up by the garage are, there's a white      ·2···taken?··I don't know.··Well, it's gotta be -- yeah,
·3···one and a black one?                                    ·3···it's gotta be recent because that's definitely my
·4·· · · ··A.··Well, that white one's my Cadillac, I         ·4···truck.
·5···believe, and I think right behind it is Scott's         ·5·· · · · · ··MR. GARDNER:··All right.··All right.
·6···truck.                                                  ·6·· · · ··Q.··(BY MR. GARDNER)··So you don't recall
·7·· · · ··Q.··Okay.··And then down the driveway a           ·7···anything you did with the extra money from the
·8···little, I assume that is your fifth wheel RV?           ·8···refinance in April of 2021?
·9·· · · ··A.··It is.                                        ·9·· · · ··A.··It wasn't like a lump-sum dollar amount
10·· · · ··Q.··And that's the one that was paid off out      10···that I spent on something, it's all bills and into
11···of the initial financing --                             11···the house.
12·· · · ··A.··Yes.                                          12·· · · ··Q.··Okay.··Are you current on that mortgage?
13·· · · ··Q.··-- correct?··And that is in your name?        13·· · · ··A.··I am.
14·· · · ··A.··It is.                                        14·· · · ··Q.··Okay.··I may have asked you this already,
15·· · · ··Q.··And what year is that?                        15···but did Scott have now or ever have access to
16·· · · ··A.··I think it's a 2018, maybe 2017.              16···Viking's bank accounts?
17·· · · ··Q.··And I assume, since it was paid off, you      17·· · · ··A.··No.
18···don't owe anything on that; correct?                    18·· · · ··Q.··Okay.··So unless you agreed to give money
19·· · · ··A.··Correct.                                      19···to him, he couldn't go in and take it?
20·· · · ··Q.··And then moving down, it looks like           20·· · · ··A.··Correct.
21···there's another boat off of the driveway to the         21·· · · · · ··MR. GARDNER:··Let's go off the record for
22···left?                                                   22···a second.
23·· · · ··A.··Yes.                                          23·· · · · · ··(Whereupon, the proceedings were in
24·· · · ··Q.··What is that boat?                            24···recess at 4:38 p.m. and subsequently reconvened at
25·· · · ··A.··I don't know what that boat is.               25···4:44 p.m., and the following proceedings were

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·1·· · · · · ··MR. WILLIAMS:··Is that a boat or a junk       ·1···entered of record:)
·2···trailer?                                                ·2·· · · · · ··MR. GARDNER:··Back on.
·3·· · · ··A.··There's a bunch of junk there.                ·3·· · · ··Q.··(BY MR. GARDNER)··So have you got any
·4·· · · ··Q.··(BY MR. GARDNER)··Okay.··That right           ·4···clarification on whether you or Viking owns the
·5···there?                                                  ·5···fifth wheel and the Cadillac?
·6·· · · ··A.··Uh-huh.                                       ·6·· · · ··A.··I know they're registered in Viking
·7·· · · ··Q.··It looks like beside it there's another       ·7···Investments LLC, but I don't know what date that
·8···trailer or maybe an old dock?                           ·8···took place.
·9·· · · ··A.··These are heaps --                            ·9·· · · ··Q.··Okay.··Okay.··So there's the 2018 fifth
10·· · · · · ··MR. WILLIAMS:··It's a hunk of metal.          10···wheel registered in Viking?
11·· · · ··A.··Yeah, metal.                                  11·· · · ··A.··(Witness nods head.)
12·· · · · · ··MR. WILLIAMS:··It's about a foot tall         12·· · · ··Q.··And the 2013 Cadillac Escalade?
13···hunk of metal.                                          13·· · · ··A.··It's a '14.··It's not an Escalade but,
14·· · · ··Q.··(BY MR. GARDNER)··Okay.··The hunk of          14···yeah, Cadillac.
15···metal, which is kind of a uniform color, but to the     15·· · · ··Q.··Okay.··What name is the boat that was
16···left of it, is that not a boat?                         16···purchased last year registered in?
17·· · · ··A.··I believe it is a boat, yes.··It's not        17·· · · ··A.··Mine.
18···mine.                                                   18·· · · ··Q.··Okay.··Do you have any other vehicles,
19·· · · ··Q.··Okay.··Whose is it?                           19···boats or RVs registered in your name?
20·· · · ··A.··I don't know whose it is.                     20·· · · ··A.··Subaru, it's not in my name, it's in
21·· · · · · ··MR. WILLIAMS:··I can't even tell from         21···Viking Investments LLC, but the Subaru is also in
22···that picture, I think it's a junk trailer, maybe a      22···there.
23···wood trailer with a tarp on it.··But I don't know,      23·· · · ··Q.··Okay.··What year is that Subaru?
24···it's hard to tell from there.                           24·· · · ··A.··2016.
25·· · · · · ··MR. GARDNER:··Okay.                           25·· · · ··Q.··Are there any other boats, vehicles,


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·1···trailers, anything else that are owned by Viking or     ·1···the February 1, 2020 bank statement for your
·2···you?                                                    ·2···American First Credit Union account?
·3·· · · ··A.··The fifth wheel, the two cars, no.            ·3·· · · ··A.··It is.
·4·· · · ··Q.··Okay.··What does your husband drive,          ·4·· · · ··Q.··Okay.··And that's the one we talked about
·5···Scott?                                                  ·5···earlier that's one of your personal accounts?
·6·· · · ··A.··A truck.                                      ·6·· · · ··A.··Yes.
·7·· · · ··Q.··What year is the truck?                       ·7·· · · ··Q.··And then the other personal account you
·8·· · · ··A.··I have no idea.                               ·8···have is a checking account at Glacier Bank?
·9·· · · ··Q.··Has he got a new truck recently?              ·9·· · · ··A.··I also have a savings account at Glacier
10·· · · ··A.··I wish.··No.                                  10···Bank.
11·· · · ··Q.··No?                                           11·· · · ··Q.··Okay.··So the checking account and
12·· · · ··A.··It's a piece of crap.                         12···savings account --
13·· · · ··Q.··So he doesn't have a new truck that he        13·· · · ··A.··And Viking Investments LLC.
14···drives?                                                 14·· · · ··Q.··So there's three bank accounts at Glacier
15·· · · ··A.··No.                                           15···Bank?
16·· · · ··Q.··Okay.··It's the same truck he's had           16·· · · ··A.··That's correct.
17···since --                                                17·· · · ··Q.··And you said you do not use the bank
18·· · · ··A.··Forever.                                      18···account that you said your name is on with your
19·· · · ··Q.··Okay.··I want to mark Exhibit 26.             19···husband?
20···EXHIBITS:                                               20·· · · ··A.··No.
21·· · · · · ··(Deposition Exhibit Number 26 marked for      21·· · · ··Q.··Okay.
22···identification.)                                        22·· · · · · ··MR. GARDNER:··Thank you, I'm done.
23·· · · ··Q.··(BY MR. GARDNER)··And Exhibit 26 are          23·· · · · · ··MR. MURPHY:··Just a couple questions.
24···Viking Investments' answers to the discovery            24·· · · · · · · · · · ··
                                                                                     EXAMINATION
25···requests.··You recognize those answers?                 25···BY MR. MURPHY:

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·1·· · · ··A.··Yes.                                          ·1·· · · ··Q.··The loan application that was referred to
·2·· · · ··Q.··And do you remember putting together the      ·2···previously from Glacier Bank {sic} that had all the
·3···information and providing documents for these           ·3···credit card debt and that sort of thing, do you
·4···discovery responses?                                    ·4···know where the bank got that information from?
·5·· · · ··A.··Yes.                                          ·5·· · · ··A.··Me?
·6·· · · ··Q.··And did you review them to make sure they     ·6·· · · ··Q.··Okay.··Did you provide that?
·7···were accurate?                                          ·7·· · · ··A.··No, I'm sorry, I was like, are you asking
·8·· · · ··A.··To the best of my recollection, yes.          ·8···me?
·9·· · · ··Q.··Okay.··I do not have a question in there.     ·9·· · · ··Q.··Yeah.
10·· · · · · ··I'll mark these Exhibit 27.                   10·· · · ··A.··Yes, okay.··Glacier Bank, you mean the
11···EXHIBITS:                                               11···lone application?
12·· · · · · ··(Deposition Exhibit Number 27 marked for      12·· · · ··Q.··Yeah, with all the credit cards.
13···identification.)                                        13·· · · ··A.··Glacier Mortgage?
14·· · · ··Q.··(BY MR. GARDNER)··And those are your          14·· · · ··Q.··Excuse me, Glacier Mortgage; right?
15···responses to the first discovery requests; correct?     15·· · · ··A.··Yes.
16·· · · ··A.··Correct.                                      16·· · · ··Q.··Okay.··I'm referring to Exhibit 17.··Did
17·· · · ··Q.··And you had a chance to review those and      17···they get all that information from you or from some
18···help provide the answers and make sure they were        18···other source?
19···accurate; correct?                                      19·· · · ··A.··My credit report.
20·· · · ··A.··Yes.                                          20·· · · ··Q.··Okay.··And did you do anything after you
21···EXHIBITS:                                               21···saw this?
22·· · · · · ··(Deposition Exhibit Number 28 marked for      22·· · · ··A.··I called the credit card companies to try
23···identification.)                                        23···to get my name removed off them.
24·· · · ··Q.··(BY MR. GARDNER)··I'm going to hand you       24·· · · ··Q.··Was it the company or the credit
25···what we'll mark as Exhibit 28.··Is that a copy of       25···reporting agencies or both or what?


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·1·· · · ··A.··It was the companies themselves.
·2·· · · · · ··MR. MURPHY:··Okay.··Nothing further.
·3·· · · · · ··MR. GARDNER:··Just one follow-up.
·4·· · · · · · · · · · ··EXAMINATION
·5···BY MR. GARDNER:
·6·· · · ··Q.··So after -- so in December or January of
·7···2019, when you saw those credit cards on your
·8···credit application, you called the credit card
·9···companies to try to at that point get your name off
10···of Scott's credit cards; correct?
11·· · · ··A.··Correct.
12·· · · · · ··MR. GARDNER:··Okay.··That's it.
13·· · · · · ··MR. MURPHY:··Okay.
14·· · · · · ··(Deposition concluded at 4:53 p.m.
15···Witness excused, signature reserved.)
16·· · · · · · · · · · · · *· * *
17···
18···
19···
20···
21···
22···
23···
24···
25···

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·1·· · · · · · · · ·CERTIFICATE OF WITNESS
·2···
·3···PAGE· · ·LINE
·4···
·5···
·6···
·7···
·8···
·9···
10·· · · · · ··I hereby certify that this is a true and
11···correct copy of my testimony, together with any
12···changes I have made on this and any subsequent
13···pages attached hereto.
14···
15···Dated on this the______ day of _________, 2023.
16···
 ··· · · · · · · · · · · · · __________________________
                             ·
17·· · · · · · · · · · · · · CANDY
                             ·     WILLIAMS, Deponent.
18···
19···
20···
21···
22···
23···
24···
25···


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  · · · · · · · ··C E R T I F I C A T E
·1·
 ···
  ·
·2·
 ···
  ·STATE OF MONTANA· ·)
·3·
 ··· · · · · · · · · ··:··ss.
  ·County of Missoula )
·4·
 ···
  · · · · · · ·I, Terra Rohlfs, RPR, Freelance Court
·5·
 ··Reporter
    ·        and Notary Public for the State of
  ·Montana, residing in Hamilton, Montana, do hereby
·6·
 ··certify:
    ·
  ·
·7·
 ··· · · · · · ·That I was duly authorized to swear in
  ·the witness and did report the deposition of CANDY
·8·
 ··WILLIAMS
    ·        in this cause;
  ·
·9·
 ··· · · · · · ·That the reading and signing of the
  ·deposition by the witness have been expressly
10·
 ··reserved;
    ·
  ·
11·
 ··· · · · · · ·That the foregoing pages of this
  ·deposition constitute a true and accurate
12·
 ··transcription
    ·             of my stenotype notes of the
  ·testimony
13·           of said witness.
 ···
  · · · · · · ·I further certify that I am not an
14·
 ··attorney
    ·        nor counsel of any of the parties; nor a
  ·relative or employee of any attorney or counsel
15·
 ··connected
    ·         with the action, nor financially
  ·interested in the action.
16·
 ···
  · · · · · · ·IN WITNESS WHEREOF, I have hereunto set
17·
 ··my
    ·  hand and seal on this the 20th day of September,                            2023.
  ·
18·
 ···
  ·
19·
 ··· · · · · · · · · · ·_______________________________
  · · · · · · · · · · ·Terra Rohlfs, RPR,
20·
 ··· · · · · · · · · · ·Freelance Court Reporter
  · · · · · · · · · · ·Notary Public, State of Montana
21·
 ··· · · · · · · · · · ·Residing in Hamilton, Montana
  · · · · · · · · · · ·My Commission expires: 11/4/23
22·
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  ·September 20th, 2023
·1·
 ···
  ·
·2·
 ··Edward
    ·        "Rusty" A. Murphy, Esq.
  ·Murphy Law Offices, PLLC
·3·
 ··127
    ·    North Higgins, Suite 310
  ·Central
·4·           Square Building
 ··Missoula,
    ·           Montana 59802
  ·
·5·
 ···
  ·Re:··IN RE: SCOTT K. WILLIAMS, DEBTOR
·6·
 ··Deposition
    ·             of CANDY WILLIAMS
  ·
·7·
 ··Dear
    ·      Counsel,
  ·
·8·
 ··Please
    ·        find attached your copy of the deposition
  ·mentioned above.··I have also attached a
·9·
 ··"CORRECTIONS
    ·               TO DEPOSITION" page following this
  ·page.··Have the deponent read and sign the
10·
 ··deposition,
    ·              noting any corrections on the page
  ·provided, and have it sent back to me.
11·
 ···
  ·You have 30 days to accomplish reading.··After that
12·
 ··we
    ·   will note on the release letter that the witness
  ·has
13·      waived the right to read the deposition, and we
 ··will
    ·      deliver the Original to the ordering party.
  ·
14·
 ··If
    ·   you have any questions, please feel free to give
  ·me a call.
15·
 ···
  ·Sincerely,
16·
 ···
  ·JEFFRIES COURT REPORTING, INC.
17·
 ···
  ·
18·
 ···
  ·Rona Chenoweth, Office Manager
19·
 ···
  ·
20·
 ···
  ·
21·
 ··cc:··Trent
    ·             M. Gardner, Esq.
  ·
22·   · ·· Hannah  S. Willstein, Esq.
 ···
  ·
23·
 ···
  ·Attachment
24·
 ···
  ·
25·


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  ·Trent M. Gardner, Esq.
·1·
 ··Hannah
    ·         S. Willstein, Esq.
  ·Goetz, Geddes & Gardner, P.C.
·2·
 ··The
    ·     Ketterer Building, 35 North Grand
  ·P.O. Box 6580
·3·
 ··Bozeman,
    ·           Montana 59771-6580
  ·
·4·
 ···
  ·
·5·
 ··Re:··IN
    ·          RE: SCOTT K. WILLIAMS, DEBTOR
  ·
·6·
 ···
  ·
·7·
 ··PLEASE
    ·         ATTACH TO YOUR COPY OF THE DEPOSITION OF:
  ·
·8·   · ·  ·  · · · · · ··CANDY WILLIAMS
 ··· · · · · · ·THURSDAY, SEPTEMBER 14, 2023
  ·
·9·
 ···
  · · · · · ·_____··Please find enclosed the Original
10·
 ··deposition
    ·             in the above-named case.··It has been
  ·read and signed.··We are now delivering it to you
11·
 ··since
    ·        you were the ordering party.
  ·
12·
 ···
  ·_____··The time for reading and signing has passed,
13·
 ··and
    ·     we are delivering the Original to you since you
  ·were the ordering party.
14·
 ···
  ·
15·
 ···
  ·Rona Chenoweth, Office Manager
16·
 ···
  ·Date: ___________
17·
 ···
  ·
18·
 ···
  ·
19·
 ··cc:··Edward
    ·              "Rusty" A. Murphy, Esq.
  ·
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